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                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


NETLIST, INC.,                             Civil No. 2:22-cv-00293-JRG
                                           (Lead Case)
            Plaintiff,
                                           JURY TRIAL DEMANDED
      v.

SAMSUNG ELECTRONICS CO., LTD., et al.,

            Defendants.


NETLIST, INC.,                             Civil No. 2:22-cv-00294-JRG
                                           (Member Case)
            Plaintiff,
                                           JURY TRIAL DEMANDED
      v.

MICRON TECHNOLOGY TEXAS, LLC, et al.,

            Defendants.


SAMSUNG’S OPPOSITION TO NETLIST, INC.’S MOTION TO EXPEDITE BRIEFING
  ON NETLIST’S MOTION FOR RELIEF FROM PROTECTIVE ORDER (DKT. 559)
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       Netlist’s motion to expedite is procedurally-flawed and its purported need for expedited

treatment is simply the result of its own delay.

       As an initial matter, Netlist failed to meet and confer with Samsung as required by L.R.

CV-7(h). Instead, Netlist simply emailed Samsung’s counsel on February 15, 2024, during the

deposition of Samsung’s damages expert and during the middle of the night in Korea, and

demanded a response within three hours. Netlist did not wait for a response, and admittedly filed

its motion without satisfying the meet and confer requirement. See Dkt. 559 at 3 (“I hereby

certify that Netlist asked Samsung whether it would agree to an expedited briefing schedule, but

received no response.”). Thus, Netlist deprived Samsung of the opportunity to attempt to resolve

this issue without Court intervention.1

       In addition, any urgency in timing is of Netlist’s own making, having waited more than

three months since the November 8, 2023 deposition of Mr. Calandra to seek leave to use his

testimony in the C.D. Cal. Case. In fact, when Netlist previously attempted to use Mr.

Calandra’s testimony in the C.D. Cal. Case, as part of the November 27, 2023 C.D. Cal. Joint

Status Report, Samsung explained that such use was improper under the protective order. See,

e.g., Dkt. 259-2 at 7-8. Samsung even filed a motion to enforce the protective order on January

17, 2024, explaining why Netlist failed to follow the procedures outlined in the protective order

for dealing with disputes about confidentiality. See Dkt. 375. If Netlist so urgently needed to

resolve the confidentiality issue, it could have moved for relief many months ago.




 1
    Netlist’s failure to confer demonstrates a disregard for this Court’s rules, consistent with its
disregard of the prefiling conference requirement in the C.D. Cal. Case, where Judge Scarsi
recently denied one of Netlist’s motions on that basis, among others. See Dkt. 538-1 (“The
Court denies the motion on several independent grounds. First, Netlist failed to comply with
Local Rule 7-3, which requires a prefiling conference of counsel to precede any motion. . . . A
prefiling conference could have focused the issues in dispute.”).


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       Finally, Netlist seeks to rush Samsung to respond in two business days to Netlist’s seven-

page motion that Netlist delayed filing for months. Samsung anticipates that it can diligently

prepare and file its opposition to Netlist’s motion in 11 days (i.e., by February 26, 2024), rather

than the normal 14 days, which would leave plenty of time before the C.D. Cal. trial begins on

March 26, 2024.



Dated: February 19, 2024                              Respectfully submitted,

                                               By:    /s/ Daniel A. Tishman

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5 on February 19, 2024. As of this date, all

counsel of record have consented to electronic service and are being served with a copy of this

document through the Court’s CM/ECF system under Local Rule CV-5(a)(3)(A).



                                                    /s/ Daniel A. Tishman




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